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5
     Attorneys for Defendant
6    STEPHANIE SITKEWICH
7

8
                                    UNITED STATES DISTRICT COURT
9
                                  NORTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                )                  NO. CR 04-0309 CRB
11                                            )
           Plaintiff,                         )                 STIPULATION AND ORDER
12                                            )                 CONTINUING SENTENCING
     vs.                                      )                 HEARING
13                                            )
     STEPHANIE SITKEWICH,                     )
14                                            )
           Defendant.                         )
15   _________________________________________)
16
            Defendants Stephanie Sitkewich and Gabriel Pinar, by and through their attorneys, Colin L.
17
     Cooper and George W. Walker, and the United States, by and through Assistant United States
18

19
     Attorney Christopher J. Steskal, hereby stipulate and agree to continue the sentencing hearing as

20   to the aforementioned defendants from September 27, 2006, at 11:00 a.m. to November 15, 2006,
        2:15 p.m.
21   at 11:00 a.m., because Colin Cooper, counsel for Stephanie Sitkewich, will be in trial in Napa

22   County beginning September 18, 2006 and continuing for approximately four to six weeks.
23
     DATED: September 18, 2006                   /s/ COLIN L. COOPER
24
                                                 Attorney for Defendant STEPHANIE SITKEWICH

25   DATED: September 18, 2006                    /s/ GEORGE W. WALKER
                                                  Attorney for Defendant GABRIEL PINAR
26
     DATED: September 18, 2006                    /s/ CHRISTOPHER J. STESKAL
27                                                Assistant United States Attorney
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1    IT IS SO ORDERED.
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             September 20, 2006
     DATED:______________________       ________________________________________




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                                        CHARLES R. BREYER.




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5                                                               SO OR
                                        United States District Court
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